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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Criminal Case No. 17-cr-00168-CMA

UNITED STATES OF AMERICA,

              Plaintiff,

v.

KAREN MC CLAFLIN,

           Defendant.
_____________________________________________________________________

  EMERGENCY MOTION TO STAY MARCH 19, 2019 SELF-SURRENDER ORDER
_____________________________________________________________________

       Karen McClaflin, though counsel, moves to moves for a stay of execution of the

self-surrender order. In support of this motion, Ms. McClaflin states the following:

       Ms. McClaflin has been ordered to surrender to the Federal Medical Center in

Carswell, Texas.

       The Court is aware of Ms. McClaflin’s medical issues.

       On March 18, 2019, at 2:28 p.m., undersigned counsel learned that Ms.

McClaflin has been checked into the hospital. Her friend, Jessica Wulf stated that the

hip infection has returned “with a vengeance,” a Dr. Miner is performing surgery

tomorrow morning (Tuesday, March 19, 2019). Ms. Wulf is in the process of obtaining

the necessary medical records. Counsel has verified this information through one of Dr.

Miner’s physician assistants, Marzy Fierra. Ms. Fierra is trying to put something

together, presumably from Dr. Miner, that will summarize Ms. McClaflin’s medical

status and the emergency situation. Counsel can provide the Court with Dr. Miner’s


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office telephone number if necessary.

      Counsel is preparing for trial starting tomorrow, March 19, 2019. Counsel will

provide the medical records as timely as possible, but the circumstances may be

challenging as counsel is expected to be in trial for the remainder of the week.

      Counsel has also called and emailed government counsel, Pegeen Rhyne, but

has not been able to speak with her and therefore cannot provide the Court with the

position of the government at this time.

      WHEREFORE, Ms. McClaflin moves stay the order of self-surrender for sufficient

time to obtain the new medical records from Dr. Miner and to determine her current

medical status and prognosis for the immediate future.

                                                Respectfully submitted,

                                                s/ Thomas J. Hammond
                                                Thomas J. Hammond
                                                Thomas J. Hammond, P.C.
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                                                303-321-7902
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                                                Attorney for Karen McClaflin


                              CERTIFICATE OF SERVICE

       I hereby certify that on March 18, 2019, I electronically filed the foregoing
EMERGENCY MOTION TO STAY MARCH 19, 2019 SELF-SURRENDER ORDER with
the Clerk of the Court using the CM/ECF filing system which will send notification of
such filing to the appropriate parties.

s/ Thomas J. Hammond
Thomas J. Hammond



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